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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
CIVIL ACTION

 

NATHANIEL MYERS,

Plaintiff : CIVIL ACTION NO.
Vv. :
JURY TRIAL DEMANDED

SOUTHEASTERN PENNSYLVANIA
TRANSPORTATION AUTHORITY

Defendants : COMPLAINT

 

COMPLAINT
INTRODUCTION

Plaintiff, Nathaniel Myers (“Plaintiff”), by and through his attorney, Gerald B. Baldino,
Il, Esq., brings this action against the herein named Defendant, Southeastern Pennsylvania
Transportation Authority (““SEPTA”), for unlawful discrimination in violation of Title VII of the
Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e, et seq. (“Title VII”), the Pennsylvania
Human Relations Act, as amended, 43 P.S. §951, et seq. (“PHRA”), 42 U.S.C. Section 1981 and
42. U.S.C. Section 1983. Plaintiff seeks damages, including compensatory, liquidated, punitive,
attorneys’ fees, and all other relief that this Court deems appropriate, and respectfully represents
as follows:

PARTIES

1, Plaintiff, Nathanial Myers, is a citizen of the United States and citizen of the
Commonwealth of Pennsylvania.

2, Defendant, SEPTA, is a municipal agency with its office located at 1234 Market

Street, Philadelphia, PA 19107, and at all times relevant hereto was Plaintiff’s employer.

 
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JURISDICTION AND VENUE

3, The causes of action which form the basis of this matter arise under Title VII and
the PHRA.

4, The District Court has jurisdiction over Count I (Title VID, Count IIT (Section
1981) and Count IV (Section 1983) pursuant to 42 U.S.C. §2000e-5 and 28 U.S.C. §1331.

5. The District Court has supplemental jurisdiction over Plaintiffs state law claims in
Count II (PHRA) pursuant to 28 U.S.C. $1367.

6. Venue is proper in the District Court under 28 U.S.C. §1391(b) and 42 U.S.C. §
2000¢-5(£)(3).

7. All conditions precedent to the institution of this suit have been fulfilled. On or
about November 17, 2019, Plaintiff properly filed a timely Charge of Discrimination with the
Equal Employment Opportunity Commission (“EEOC”) against the herein named Defendant,
complaining of acts of discrimination and retaliation alleged herein. This Charge was dual-filed
with the Pennsylvania Human Relations Commission (“PHRC”).

8. On or about December 30, 2020 the EEOC issued to Plaintiff a Notice of Right to
Sue for his Charge of Discrimination against SEPTA (EEOC Charge No, 530-2019-02632).
Attached hereto, incorporated herein, and marked as Exhibit “A” is a true and correct copy of the
Notice of Right to Sue.

9, Plaintiff has properly commenced this action within ninety (90) days of his receipt
of the Notice of Right to Sue and has fully complied with all administrative prerequisites for the
commencement of this action.

GENERAL ALLEGATIONS

10, Plaintiff's race is African-American.

 
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li. Plaintiff was hired by SEPTA in or about June 2007 as a Third Class Mechanic.

12. Approximately one year later, in or about 2008, Plaintiff was promoted to the
position of Maintenance Manager.

13, Approximately one year thereafter, in or about November 2009, Plaintiff was
promoted again, this time to the position of Assistant Director of Bus Maintenance.

14, From in or about May 2013 through in or about August 2013, Plaintiff held the role
of Interim Director of Bus Maintenance after the acting Director left his position.

15. Aside from Plaintiffs time as Interim Director, Plaintiff held the role of Assistant
Director of Bus Maintenance continuously since on or about November 29, 2009 until his
resignation on March 12, 2021.

16. During the course of Plaintiff's employment as an Assistant Director, he was held
to different, and higher standards than other Assistant Directors.

17. By way of example, Assistant Director’s performance was based in part on their
ability to meet Mean Distance Between Failures (hereinafter “MDBF”) goals.

18. MODBF is a measurement of efficiency determined by dividing the fleets total
odometer miles in a SEPTA fiscal period by the total number of vehicle mechanical breakdowns
in the fleet for the same period.

19. Upon information and belief, Plaintiff's MDBF goals were higher than those of
similarly situated Caucasian Assistant Directors.

20. Despite these higher MDBF goals, at all times relevant hereto Plaintiff was an
excellent employee who performed his job duties in a highly competent manner and consistently

met job expectations and received positive performance reviews.

 
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21. During the course of Plaintiff's employment with SEPTA, he was passed over for
the position of Director of Bus Maintenance at least five times.

22, Specifically, in or about 2013, Plaintiff applied and interviewed for the full-time
Director of Bus Maintenance position but was denied.

23, Plaintiff was thereafter informed that he was not selected for the position, and that
the Director position was given to Mike Cevera, a less qualified Caucasian co-worker of Plaintiff
who, upon information and belief, had less management experience.

24, In or about 2009, Plaintiff had asked the Chief Officer of Maintenance what he
could do to advance within SEPTA and was told that Defendant was looking for candidates with
higher education,

25 As a result, Plaintiff returned to college to finish an undergraduate degree in the
field of Business Administration and received his bachelor’s degree in 2015.

26. Thereafter, Plaintiff attended graduate school and received his Master of Business
Administration and Strategic Management and Leadership degree in 2016, graduating with a 4.0
grade point average,

27. In 2016, Plaintiff again applied and was interviewed for an open position as
Director of Bus Maintenance.

28. Despite pursuing and receiving advanced education degrees, Plaintiff was again
informed that he was not selected for the position, and that the Director position was given to Tom
Hoffman, a less-qualified Caucasian co-worker of Plaintiff who, upon information and belief, did
not have any higher education or advanced degrees and had less time on location at the bus depots

than Plaintiff.

 
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29. ‘In or about 2018, Plaintiff again applied and interviewed for the Director of Bus
Maintenance position.

30. In or about March 2019, Plaintiff was again rejected for the position, and the job
was given to Dave Clemons, a Caucasian co-worker on the retirement list who, upon information
and belief, was less qualified and did not have any higher education or advanced degrees.

31.  Inor about May of 2019, Plaintiff again applied and later interviewed for an open
Director of Bus Maintenance position.

32. Thereafter, Plaintiff was again informed that he had not been selected for the
position, as the Director of Bus Maintenance position was given to Phil Tostimino, a Caucasian
co-worker who, upon information and belief, was less qualified and did not have any higher
education or advanced degrees.

33. Upon information and belief, Mr. Tostimino had just completed a two-year
disciplinary period prior to his promotion to the Director of Bus Maintenance position.

34, Plaintiff, however, was not subject to any disciplinary actions during the entirety of
his employment with Defendant.

35. During the interview for the Director of Bus Maintenance Position eventually given
to Mr. Tostimino, Plaintiff asked his superiors what he needed to do to be promoted and was told
that he had enough credentials and was qualified, but that they would decide when they were ready
to promote him.

36. In or about April of 2020, an open Director of Bus Maintenance Position was filled
by John Polski, a Caucasian co-worker who, upon information and belief, was less qualified than
Plaintiff, did not have back shop experience, had less managerial experience, and did not have any

higher education or advanced degrees.

 
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37. The position filled by Mr. Polski was never posted or opened up to other applicants,
and as a result Plaintiff was never given the opportunity to apply and/or interview for the position,
despite the fact that, upon information and belief, Mr. Polski was not the next highest candidate in
the pool.

38. As of Plaintiffs resignation on March 12, 2021, only one of the nine Directors of
Bus Maintenance was African-American.

39, Upon information and belief, the remaining eight Directors are all Caucasian.

40. Plaintiff's race was a motivating and/or determinative factor in Defendant’s
discriminatory treatment of Plaintiff, including its failure to promote him to the position of Director
of Bus Maintenance.

41. Defendant failed to prevent or address the discriminatory conduct referred to herein
and further failed to take corrective and remedial measures to make the workplace free of
discriminatory conduct.

42, Asa direct result of the discriminatory conduct of Defendant, Plaintiff has in the
past incurred and may in the future incur, a loss of earnings and/or carning capacity, loss of
benefits, pain and suffering, embarrassment, humiliation, loss of self-esteem, mental anguish and
loss of life’s pleasures, the full extent of which is not known at this time.

43. Defendant acted with malice, reckless indifference, and/or deliberate indifference
to Plaintiff's protected rights.

STATEMENT OF CLAIM
COUNT I -— TITLE VU— RACE DISCRIMINATION
44, Plaintiff incorporates by reference the paragraphs above as if set forth herein in

their entirety.

 
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45, The acts and conduct of Defendant SEPTA through its respective agents, officers,
employees and officials, as stated above where Plaintiff was denied promotions to the position of
Director of Bus Maintenance on the basis of his race, are violations of Title VII.

46. Said violations were intentional and warrant the imposition of punitive damages.

47, Asa direct result of the aforementioned discriminatory practices of the Defendant
in violation of Title VI, Plaintiff has sustained a loss of wages and earnings, loss of benefits, loss
of back pay, interest due therein as well as mental anguish, emotional distress, humiliation, and
damage to reputation,

48. By reason of Defendant’s discrimination, Plaintiff is entitled to all legal and
equitable remedies available under Title VII.

49, No previous application has been made for the relief requested herein.

COUNT IL —- PHRA — RACE DISCRIMINATION

50. Plaintiff incorporates by reference the paragraphs above as if set forth herein in
their entirety.

51. The acts and conduct of Defendant SEPTA through its respective agents, officers,
employees and officials, as stated above where Plaintiff was denied promotions to the position of
Director of Bus Maintenance on the basis of his race, are violations of the PHRA.

52. Said violations were intentional and warrant the imposition of punitive damages.

53. Asadirect result of the aforementioned discriminatory practices of the Defendant
in violation of the PHRA, Plaintiff has sustained a loss of wages and earnings, loss of benefits,
loss of back pay, interest due therein as well as mental anguish, emotional distress, humiliation,

and damage to reputation.

 
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54. By reason of Defendant’s discrimination, Plaintiff is entitled to all legal and
equitable remedies available under the PHRA.

55. No previous application has been made for the relief requested herein.

COUNT I — SECTION 1981

56. Plaintiff incorporates by reference the paragraphs above as if set forth herein in
their entirety.

57. By committing the foregoing acts of discrimination and retaliation, Defendant has
violated Section 1981,

58. Said violations were done with malice and/or reckless indifference.

59. Asa direct and proximate result of Defendant’s violation of Section 1981, Plaintiff
has suffered the damages and losses set forth herein and has incurred attorneys’ fees and costs.

60. No previous application has been made for the relief requested herein.

COUNT IV— SECTION 1983

61. Plaintiff incorporates by reference the paragraphs above as if set forth herein in
theit entirety.

62. Defendant’s discriminatory conduct, as set forth herein, deprived Plaintiff of equal
protection under the law as guaranteed by the Fourteenth Amendment of the United States
Constitution.

63.  Defendant’s violation of the constitution included policies, practices, and/or
customs to treat African-American employees less favorably that white employees, which was
committed, directed, implemented, and/or ratified by officials of Defendant in supervisory

capacities with policymaking and decision-making authority.

 
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64. Asa direct and proximate result of Defendant’s act and conduct which caused and
continue to cause Plaintiff to be denied equal protection under the law, Plaintiff has suffered and
will suffer those injuries, damages, and losses alleged herein and has incurred and will incur
attorney’s fees,

65. The wrongful acts and conduct of Defendant were done with deliberate indifference
to the statutory and constitutional rights of Plaintiff.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff seeks damages and legal and equitable relief in connection with
Defendants’ improper conduct, and specifically prays that the Court grant the following relief to
the Plaintiff by:

(a) declaring the acts and practices complained of herein to be in violation of Title VII;

(b) declaring the acts and practices complained of herein to be in violation of the PHRA;

(c) declaring the acts and practices complained of herein to be in violation of Section 1981;

(d) declaring the acts and practices complained of herein to be in violation of Section 1983;

(e) enjoining and permanently restraining the violations alleged herein;

(f) entering judgment against the Defendants and in favor of the Plaintiff in an amount to
be determined;

(g) awarding compensatory damages to make the Plaintiff whole for all past lost earnings,
earning capacity and benefits, which Plaintiff has suffered or may suffer as a result of Defendant’s
improper conduct;

(h) awarding compensatory damages to Plaintiff for past and future pain and suffering,
emotional upset, mental anguish, humiliation, and loss of life’s pleasures, which Plaintiff has

suffered or may suffer as a result of Defendants’ improper conduct;

 
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(i) awarding punitive damages to Plaintiff under Title VII;
(j) awarding Plaintiff such other damages as are appropriate under Title VII, the PHRA,
Section 1981, and Section 1983;

(k) awarding Plaintiff the costs of suit, expert fees and other disbursements, and reasonable
attorney’s fees; and;

(i) granting such other and further relief as this Court may deem just, proper, or equitable
imcluding other equitable and injunctive relief providing restitution for past violations and

preventing future violations,
JURY DEMAND

Plaintiff demands a trial by jury of the claims asserted herein.

SACCHETTA & BALDINO

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